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 5
 6   Attorney for Defendant
     NAM GIA PHAMTRAN
 7
                                 UNITED STATES DISTRICT COURT
 8
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,                       CASE NO. 2:05-CR-00542-GEB
11                         Plaintiff,                 ORDER CONTINUING ARRAIGNMENT
                                                      HEARING
12    vs.

13    NAM GIA PHAMTRAN                                Current Hearing Date:
                  Defendant                           DATE: May 15, 2015
14                                                    TIME: 9:00 A.M.
                                                      PLACE: Honorable Garland E. Burrell Jr.,
15                                                    Judge of the United States District Court
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17
            GOOD CAUSE APPEARING, IT IS SO ORDERED that the arraignment hearing
18
     presently set for May 15, 2015, at 9:00 a.m., be continued to July 17, 2015, at 9:00 a.m.
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     Dated: May 12, 2015
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